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                                                       U.S. Department of Justice


                                                       United States Attorney
                                                       Eastern District of New York
MRM/SS/KO                                              271 Cadman Plaza East
F. #2025R00053                                         Brooklyn, New York 11201


                                                       February 4, 2025

By ECF

The Honorable Lara K. Eshkenazi
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Dimitriy Nezhinskiy and Juan Villar
                       Criminal Docket No. 25-40 (AMD)(VMS)

Dear Judge Eshkenazi:

                The government respectfully submits this letter in support of the pretrial detention
of the defendants Dimitriy Nezhinskiy, also known as “Ruso,” and Juan Villar. Both defendants
are charged by indictment in the above-captioned case with one count of conspiracy receive stolen
property, in violation of 18 U.S.C. § 371, and three counts of receipt of stolen property, in violation
of 18 U.S.C. § 2315. The charges stem from the defendants engaging in a years’ long conspiracy
to receive stolen property, serving as “fences” for countless pieces of stolen merchandise taken
from across the United States. For the reasons set forth below, both defendants should be detained
pending trial.

   I.      Factual Background

           a. The Instant Charges

                On January 30, 2025, a grand jury in the Eastern District of New York returned a
four-count indictment (the “Indictment”) in the above-captioned case, charging Nezhinskiy and
Villar with four counts related to their respective roles in a Manhattan based stolen property
purchasing operation. Specifically, the defendants are charged in Count One with conspiring with
one another, and others, to receive and purchase stolen property, including jewelry, watches,
handbags and assorted luxury items that had been stolen outside of the state of New York and
transported into New York. Count Two charges Nezhinskiy and Villar with the substantive offense
of receiving stolen property on one occasion in November 2020. Counts Three and Four charge
Nezhinskiy with the substantive offense of receiving stolen property on one occasion in August
2022 and one occasion in August 2023, respectively.
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               During the course of the investigation, law enforcement employed an undercover
detective who, on seven separate occasions between October 2022 and January 2024, conducted
controlled sales of purported stolen property, including high end handbags and luxury accessories,
to Nezhinskiy or Villar, or both, at their business location in Manhattan’s Diamond District. In
each controlled sale, the undercover detective provided the defendants with items that the
undercover presented as stolen in exchange for cash.

                The investigation developed evidence that Nezhinskiy and Villar regularly served
as “fences” for South American Theft Groups (“SATG”) who engaged in crime tourism. 1
Specifically, the conduct charged in Count One, overt act (a), and Count Three pertain to
Nezhinskiy and Villar purchasing stolen property from Bryan Leandro Herrera Maldonado, a
prolific burglary who committed at least 16 residential burglaries across the United States between
2019 and 2020. See United States v. Maldonado, 22-CR-376 (JS). Further, phone records and a
review of video surveillance linked at least two members of a four-man burglary crew believed to
be involved in the December 9, 2024 burglary of a high profile athlete in Ohio to Nezhinskiy.
Specifically, the member of the crew was in contact with Nezhinskiy less than a week prior to the
commission of the burglary in Ohio. Indeed, to date, via various sources of evidence, including
witness testimony, iCloud search warrants, phone location information and video surveillance, law
enforcement can link Nezhinskiy and Villar’s operation to at least five separate burglary crews
that committed theft crimes across the United States between 2020 and the present time.
Nezhinskiy and Villar’s operation, purchasing stolen property from these crews for cash, provided
an essential market for the stolen goods, perpetuating the dangerous criminal activities of the
burglary and theft crews composed largely of foreign nationals.

                On February 4, 2025, Villar was arrested at the business location he and Nezhinskiy
operate in Manhattan. Law enforcement also executed a search warrant on the premises and
located large quantities of suspected stolen property including dozens of high-end watches and
jewelry. Law enforcement also recovered large quantities of cash and marijuana. Simultaneously,
law enforcement executed a search warrant at storage units belonging to Nezhinskiy in New Jersey
where an additional cache of suspected stolen property was found. From within Nezhinskiy’s
storage units, law enforcement recovered large quantities of luxury goods and clothing, including
high-end handbags, wine, sports memorabilia, jewelry and art. It also located power tools
consistent with those commonly used in burglaries and opening safes.




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         See Crime Tourists: An international spree targets D.C. area’s wealthy Asian residents,
Justin Jouvenal, Washington Post, January 11, 2022, https://www.washingtonpost.com/dc-md-
va/2022/01/11/burglaries-crime-tourists-target-asians/ (last visited January 29, 2025); Thieves in
the Night: A Vast Burglary Ring From Chile Has Been Targeting Wealthy U.S. Households,
Mark Wortman, Vanity Fair, February 24, 2022, https://www.vanityfair.com/news/2022/02/a-
vast-burglary-ring-from-chile-has-been-targeting-wealthy-us-households (last visited January 29,
2025); 4 Men Arrested in Connection to Burglary at Bengals Quarterback Joe Burrow’s Home,
Kiki Intarasuwan, CBS News, January 21, 2025 https://www.cbsnews.com/news/joe-burrow-
burglary-arrests-bengals-quarterback/ (last visited January 29, 2025).


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           b. Nezhinskiy’s Criminal History

                Nezhinskiy is a Georgian national has been subject to a final order of removal
since 2003. However, Nezhinskiy remains in the United States as he cannot be returned to his
home country. He currently resides in New Jersey and has an extensive criminal history in New
York. In January 2001, Nezhinskiy was convicted of Possession of a Forged Instrument, 3rd
degree, a class A misdemeanor, in violation of New York Penal Law (“N.Y.P.L.”) § 170.20, and
sentenced to three years of probation. In March 2001, Nezhinskiy was convicted of disorderly
conduct, a violation, in violation of N.Y.P.L. § 240.20, in connection with larceny charge, and
was sentenced to a conditional discharge. In October 2001, Nezhinskiy was convicted of petit
larceny, a class A misdemeanor, in violation of N.Y.P.L. § 155.25, and sentenced to a
conditional discharge. In February of 2002, Nezhinskiy was convicted of Robbery, 2nd degree, a
class C violent felony, in violation of N.Y.P.L. § 160.10(1), and sentenced to 42 months’
imprisonment. Nezhinskiy was released in November 2004 and remained under New York State
parole supervision until November 2009. In January 2018, Nezhinskiy was convicted of driving
while impaired, a violation, in violation of New York Vehicle and Traffic Law (“V.T.L.”) §
1192.1, and sentenced to a conditional discharge. Nezhinskiy also has a criminal history in New
Jersey, where in January 2018 he was convicted of loitering to obtain or distribute a controlled
dangerous substance, in violation of New Jersey Criminal Code § 2C:33-2.1(b), for which he
was fined.

           c. Villar’s Criminal History

                Villar is a United States citizen who currently resides in Queens, New York.
Villar has a criminal history in New York which began in February 2001, when Villar was
convicted of Assault, 3rd degree, a class A misdemeanor, in violation of N.Y.P.L. § 120.00(1), in
connection with a burglary incident. Villar was sentenced to a conditional discharge. In March
2009, Villar was convicted of Offering a False Instrument for Filing, 1st degree, a Class E felony,
in violation of N.Y.P.L. § 175.35, and was sentenced to six months’ jail and five years’
probation. Villar remained on probation until August 2013.

           d. The Statutory Penalties and the Possible Guidelines

                Here, each defendant faces a statutory maximum term of imprisonment of 10
years if convicted of violating 18 U.S.C. § 2315. The statutory maximum for the conspiracy
charge is five years’ imprisonment. A conservative estimate of each defendant’s potential
sentencing Guidelines yields a range of 41-51 months’ imprisonment, however, if the Court were
to apply all enhancement for which the government believes there is sufficient evidence, the
estimate for each defendant would be substantially higher, 78 to 97 months’ imprisonment for
Villar and 97 to 120 months’ imprisonment for Nezhinskiy.

   II.     Legal Standard

               The court “shall order” a defendant detained if it finds that “no condition or
combination of conditions will reasonably assure the appearance of the person as required and the
safety of any other person and the community.” 18 U.S.C. § 3142(e)(1). The government bears
the burden of persuading the court by a preponderance of the evidence that the defendant is a flight


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risk or that he will obstruct or attempt to obstruct justice, or by clear and convincing evidence that
the defendant is a danger to the community. United States v. Mercedes, 254 F.3d 433, 436 (2d
Cir. 2001). The government may proceed by proffer to establish facts relevant to a detention
determination. United States v. Ferranti, 66 F.3d 540, 541 (2d Cir. 1995). Furthermore, “[t]he
rules of evidence do not apply in a detention hearing.” Id. at 542. As the Second Circuit has
explained:

               [I]n the pre-trial context, few detention hearings involve live
               testimony or cross examination. Most proceed on proffers. See
               United States v. LaFontaine, 210 F.3d 125, 131 (2d Cir. 2000). This
               is because bail hearings are “typically informal affairs, not
               substitutes for trial or discovery.” United States v. Acevedo-Ramos,
               755 F.2d 203, 206 (1st Cir. 1985) (Breyer, J.) (quoted approvingly
               in LaFontaine, 210 F.3d at 131). Indeed, § 3142(f)(2)(B) expressly
               states that the Federal Rules of Evidence do not apply at bail
               hearings; thus, courts often base detention decisions on hearsay
               evidence. Id.

United States v. Abuhamra, 389 F.3d 309, 320 n.7 (2d Cir. 2004).

                Whether detention is sought on the basis of flight or dangerousness, the Bail
Reform Act lists four factors to be considered in the detention analysis: (1) the nature and
circumstances of the crimes charged, “including whether the offense is a crime of violence . . .”;
(2) the weight of the evidence against the defendant; (3) the history and characteristics of the
defendant, including “whether, at the time of the current offense or arrest, the person was on
probation [or] on parole”; and (4) the seriousness of the danger posed by the defendant’s release.
See 18 U.S.C. § 3142(g). Specifically, in evaluating dangerousness, courts consider not only the
effect of a defendant’s release on the safety of identifiable individuals, such as victims and
witnesses, but also “‘the danger that the defendant might engage in criminal activity to the
detriment of the community.’” United States v. Millan, 4 F.3d 1038, 1048 (2d Cir. 1993) (quoting
legislative history).

III.   Argument

               No bail package will protect the community from the danger posed by the
defendants, as a balancing of the four factors set forth in Section 3142(g) weighs in favor of both
defendants’ pretrial detention.

                 First, both defendants are charged with crimes that at first blush may not appear to
be violent or dangerous, but in reality, the defendants’ crime create a substantial risk to human life.
Indeed, their criminal conduct creates a market for residential burglaries and retail thefts that create
a very real risk of danger. By creating a cash-based marketplace for stolen items, these defendants
motivate individuals to engage in nationwide patterns of burglaries and thefts. Their conduct




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promotes the victimizing of individuals in their homes and endangering communities on a large
scale. This clearly weighs in favor of detention.

                 Second, the weight of the evidence against the defendants is extremely strong and
this factor, too, weighs in favor of detention. Here, there are multiple video recordings made by
the undercover demonstrating the defendants knowingly purchasing stolen luxury goods for cash
across several months. Additionally, there are multiple witnesses who have reported to law
enforcement that they have sold stolen property to the defendants and even that the defendants
have coached them to steal items away from New York so it will be easier for the defendants to
resell the items and harder for law enforcement to track. Further, the investigation yielded phone
evidence that puts Nezhinskiy in contact with numerous individuals involved in burglaries across
the United States. The weight of the evidence also weighs in favor of detention.

               Third, the risk of further violence and flight by the defendants is substantial. As
discussed above, both defendants conduct creates a substantial danger to numerous communities
across the United States. This conduct was not isolated, instead, it has been ongoing for years.
Furthermore, each defendant is facing a substantial term of imprisonment for their conduct which
will only increase their risk of flight. Also as noted above, Nezhinskiy is subject to a final order
of removal. While Nezhinskiy cannot be removed to his home country, there is nothing that
prevents him from fleeing to another nation. This factor also weighs heavily in favor of detention.

      IV.      Conclusion

               For the reasons set forth above, the government respectfully submits that no
condition or combination of conditions will properly assure the safety of the community or the
defendants’ return to court if they are released on bail, and therefore requests that the Court order
that the defendants be detained pending trial.

                                                       Respectfully submitted,

                                                       JOHN J. DURHAM
                                                       United States Attorney

                                              By:       /s/
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cc:         Clerk of the Court (by ECF)
            Defense Counsel (by ECF)




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